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ata this information to Identify your case:

     
 

United States Bankruptcy Court for the:

 
  

Middle District of Florida

  

Case number (if known): Chapter you are filing under:
Chapter 7
C) Chapter 41
CQ) Chapter 12
C) Chapter 13

  
     
    
 

Official Form 101

 

Voluntary Petition for Individuals Filing for Bankruptcy 12147

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—calied a
Joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and

Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

 

 

 

 

 

 

 

 

 

 

 

 

 

 

information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.
a teoncty Yourself
About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name that is on your
government-issued picture Darlene -
identification (for example, First name First name
your driver's license or Lynette
passport). Middle name Middle name
Bring your picture Walls
identification to your meeting —- Last name Last name
with the trustee.
Suffix (Sr., dr, I, HI) Suffix (Sr., dr, I, HD
2. All other names you N/A
have used in the last 8 First name First name
years
Include your married or Middle name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of
your Social Security KX — xX-_4 0 _8 8 XXX XK
number or federal OR OR
Individual Taxpayer
Identification number 9x - xx xx = xX
(ITIN)

 

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
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Debtor 4 Darlene Lynette Walls

 

First Name Middle Name

Last Name

Case number (if known)

 

4, Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

About Debtor 1:

C) | have not used any business names or EINs.

Acquire Now Industries & Services

About Debtor 2 (Spouse Only in a Joint Case):

C) | have not used any business names or EINs.

 

Business name

Business name

 

Business name

4 7.5 6 12 3 3 7

EIN

Business name

EIN”

EIN

 

5. Where you live

803 Cinnamon Drive East

lf Debtor 2 lives at a different address:

 

 

 

 

Number Street Number Street
Winter Haven FL. 33880
City State ZIP Code City State ZIP Code
Polk
County County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

lf Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

Number Street Number Street

P.O, Box P.O. Box

City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

wi Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

CQ] | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

C) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

1 | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 2

 
Debtor 1

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First Name

Darlene Lynette Walls

Middle Name

Case number (if known)
Last Name

| Part 2 | Tell the Court About Your Bankruptcy Case

7.

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

4 Chapter 7

C) Chapter 11
C) Chapter 12
C) Chapter 13

CJ | will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address,

(] i need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

Z | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

9. Have you filed for i No
bankruptcy within the
last 8 years? C) Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
10. Are any bankruptcy W No
cases pending or being
filed by a spouse who is LC] Yes. Debtor Relationship to you
not filing this case with District When Case number, if known.
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debior Relationship to you
District When Case number, if known
MM /DD/YYYY
11. Do you rent your WI No. Goto line 12.
residence? (-l Yes. Has your landlord obtained an eviction judgment against you?

Official Form 101

CJ No. Go to line 12.

C] Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3

 

 
Debtor 1

Case 8:19-bk-02987-MGW Doc1 Filed 04/01/19 Page 4 of 63

Darlene Lynette Walls Case number (irknown)

 

First Name Middie Name

 

Last Name

[Part 3: | Report About Any Businesses You Own as a Sole Proprietor

 

 

 

 

 

 

 

12. Are youa sole proprietor (2) No. Goto Part 4.

of any full- or part-time

business? (I Yes. Name and location of business

A sole proprietorship is a

business you operate as an - -

individual, and is not a Name of business, if any

separate legal entity such as

a corporation, partnership, or

LLC. Number Street

If you have more than one

sole proprietorship, use a

separate sheet and attach it

to this petition. City State ZiP Code
Check the appropriate box to describe your business:
C] Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C] Stockbroker (as defined in 11 U.S.C. § 101(53A))
C) Commodity Broker (as defined in 11 U.S.C. § 101(6))
C) None of the above

43. Are you filing under

Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of smalf

business debtor, see
11 U.S.C. § 101(51D).

If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
can set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if

any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

a No. | am not filing under Chapter 11.

LI No. 1am filing under Chapter 11, but | am NOT a small business debtor according to the definition in

the Bankruptcy Code.

(] Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the

Bankruptcy Code.

ee Report if You Qwn or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14

 

. Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Official Form 101

YI No
() Yes. What is the hazard?

 

 

if immediate attention is needed, why is it needed?

 

 

Where is the property?

 

 

 

Number Street
City State ZIP Code
Voluntary Petition for Individuals Filing for Bankruptcy page 4

|
|
!
|

 
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Debtor 1

First Name

Darlene Lynette Walls

Middle Name

Cast Name

Case number (if known).

Part 5: | Explain Your Efforts to Receive a Briefing About Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101 |

About Debtor 1:

You must check one:

0d | received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) t received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Cd certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after i made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadiine is granted
only for cause and is limited to a maximum of 15
days.

C] | am not required to receive a briefing about

credit counseling because of:

QQ) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

CQ] Disability. | My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

CJ Active duty. | am currently on active military
duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

C) i received a briefing from an approved credit
counseling agency within the 180 days before [
filed this bankruptcy petition, and 1 received a
certificate of completion.

Attach a copy of the certificate and the payment
pian, if any, that you developed with the agency.

C] t received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Cd 1 certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) tam not required to receive a briefing about
credit counseling because of:

C) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Q) Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

UL] Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5

 
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Debtor 4 Darlene Lynette Walls

First Name Middie Name Last Name

Case number (rinown)

 

Answer These Questions for Reporting Purposes

 

 

46. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
exciuded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

48. How many creditors do
you estimate that you
owe?

49. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

Part 7: Sign Below

For you

Official Form 101

16a, Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

CI No. Go fo line 16b.
A Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

(J No. Go to line 166.
CG) Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

CI No. 1am not filing under Chapter 7. Go to line 18.

Yes. tam filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

(A No
CI Yes

Q 1-49

(J 50-99
C] 100-199
CJ 200-999

(4 $0-$50,000

C2 $50,001-$100,000
CJ $100,001-$500,000
LJ $500,001-$1 million

4 $0-$50,000

(2 $50,001-$100,000
Cl $100,001-$500,000
CJ $500,001-$1 million

(3 4,000-5,000
CJ 5,001-10,000
CJ 10,001-25,000

LJ $1,000,001-$10 mitlion

£2 $10,000,001-$50 miltion
C} $50,000,001-$100 mitiion
CJ $100,000,001-$500 million

CJ $1,000,001-$10 miftion

CJ $10,000,001 -$50 million
(J $50,000,001-$100 million
C2 $100,000,001-$500 million

CJ 25,001-50,000
£2 50,001-100,000
() More than 100,000

CJ $500,000,001-$1 billion

C2 $1,000,000,001-$10 billion
C3 $10,000,000,001-$50 billion
CJ More than $50 billion

C2 $500,000,001-$1 billion

[2 $1,000,000,001-$10 billion
CJ} $10,000,000,001-$50 billion
CL] More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

If |have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attorney represents me and { did not pay or agree to pay someone who is not an attorney to help me fill out
this document, ! have obtained and read the notice required by 11 U.S.C. § 342(b).

I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up fo 20 years, or both.
18 U.SA\ §§ 152, 1341, 1519, and 3577.

  

 

 

«Wir ale
Signature of Debior 1 Signature of Debtor 2
Executed onl.) 4 Executed on

MM

Voluntary Petition for Individuals Filing for Bankruptcy

MM/DD /YYYY_

page 6

 
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Debtor 1 Darlene Lynette Walls Case number (if known)

First Name Middle Name Last Name

 

 

 

 

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no

For your attorney, if you are
represented by one

 

If you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page. x
Date
Signature of Attorney for Debtor MM / ODD IYYYY

 

Printed name

 

Firm name

 

Number Street

 

 

 

 

City State ZIP Code
Contact phone Email address
Bar number State

 

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
Case 8:19-bk-02987-MGW Doc1 Filed 04/01/19 Page 8 of 63

Debtor 1 Darlene Lynette Walls Case number (if known).

 

First Name Middle Name

 

Last Name

 

For you if you are filing this
bankruptcy without an
attorney

If you are represented by
an attorney, you do not
need to file this page.

 

 

 

 

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another

,case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of ali your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

NC
id Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

(J No
(A Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
id No

CL) Yes. Name of Person
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

x \duiey 4 U Alle «

 

 

 

 

 

 

 

Signature of Debtor 1 Signature of Debtor 2
Date 0 Lf \ 201 ( 4 Date
MM/DD f/YYYY MM/ DD /YYYY
Contact phone Contact phone
Cell phone Cell phone
Email address Email address

 

 

 

 

Official Form 104

 

Voluntary Petition for Individuals Filing for Bankruptcy page 8
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Fill in this information to identify your case:

 

Debtor1 Darlene Lynette Walls
First Name SMatdie Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Fiorida

Case number CJ Check if this is an
(if known) amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information — 12/15
Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct

information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

 

Summarize Your Assets

 

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

 

ta. Copy line 55, Total real estate, from Schedule A/B .........cccccccccsccsscsessesseececscssecssecseecusercesscesessecsecsuesssssavecsesesssensdsaeenseneee $ ____19,317.00
1b. Copy line 62, Total personal property, from Schedule A/B..............cscccccscsccssersseesreecsesseecerenscetsasseseussuvsnesveseesvasesesevarsevsten $ 2,393.46
ic. Copy line 63, Total of all property on Schedule A/B uc ccccccecccsccseessseeteesessrencsatsevsnscscenscsesstenessensucnsasvarecesvessucesssaceesenace $ 21,710.46

 

 

 

Summarize Your Liabilities

Your liabilities
Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you fisted in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $ 0.00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F 0... ccs cteescstees $ 0.00

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F oe ce ccseseesetesessevenere + 35,014.34

 

 

 

 

 

 

Your total liabilities g__ 35,014.34
Summarize Your Income and Expenses
4. Schedule |: Your Income (Official Form 1061) 492.00
Copy your combined monthly income from line 12 of Schedule I... ccccccccceescessnsenseeensnesseaeseneseseseesssessesenesseacaeaeseesesess $ -
5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c¢ of SCHECUIG To... .c.ecscecccseccccesseeeeeessnesecensesceeceeuenesesenssensseseseatsesenesesesesesecenesees $ ____ 604.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
Case 8:19-bk-02987-MGW Doc1 Filed 04/01/19 Page 10 of 63

Debtor 4 Darlene Lynette Walls Case number Fino

 

 

First Name iiddle Name Last Name

Answer These Questions for Administrative and Statistical Records

 

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
(} No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
wi Yes

7. What kind of debt do you have?

,] Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

(J Your debts are not primarily consumer debts. You have nothing to report on this part of the forrn. Check this box and submit
this form to the court with your other schedules.

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official

Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 192.00

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F-

 

Total claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $C.
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) s__ C0
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00

priority claims. (Copy line 6g.) as
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy fine 6h.) +§ 0.00
9g. Total. Add lines 9a through 9f. $ 0.00

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

 
Case 8:19-bk-02987-MGW Doc1 Filed 04/01/19 Page 11 of 63

Fill in this information to identify your case and this filing:

Debtor 4 Darlene Lynette Walls

First Name Middte Name Last Name

 

 

Debtor 2
(Spouse, if filing) First Name Middte Name Last Name |

 

United States Bankruptcy Court for the: Middle District of Florida

Case number

 

C) Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

fa Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

CL) No. Go to Part 2.
wv Yes. Where is the property?

i ?
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

: . WW Single-family home the amount of any secured claims on Schedule D:
14. 803 Cinnamon Drive East Creditors Who Have Claims Secured by Property.

CY Duptex or multi-unit buildin
Street address, if available, or other description P g

 

 

 

 

 

 

 

CJ) Condominium or cooperative Current value of the Current value of the
(] Manufactured or mobile home entire property? portion you own?
) Land $ 77,268.00 ¢ 19,317.00
/ L) investment propert
Winter Haven FL 33880 OC) Timeshare ee Describe the nature of your ownership
City State ZIP Code Q interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.

Who has an interest in the property? Check one. Simple fee

Polk L} Debtor 1 only

County C] Debtor 2 only
QO] bebtor 1 and Debtor 2 only Cl Check if this is community property

see instructions
I At least one of the debtors and another ( )

Other information you wish to add about this item, such as local
property identification number: Own property with 3 siblings _

If you own or have more than one, list here:

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
QQ Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

 

 

 

 

4.2. _ O Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
Street address, if available, or other description . ;
QC) Condominium or cooperative Current value of the Current value of the
(al Manufactured or mobile home entire property? portion you own?
(al Land $ $
CL) Investment property
. Describe the nature of your ownership
City State ZIP Code U) Timeshare interest (such as fee simple, tenancy by
C) other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
C] Debtor 1 only
County CY Debtor 2 only
C] Debtor 1 and Debtor 2 only () Check if this is community property
(2) At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule A/B: Property page 1
Case 8:19-bk-02987-MGW Doc1 Filed 04/01/19 Page 12 of 63

‘Debtori Darlene Lynette Walls

 

 

 

 

 

Case number gion,
First Name Maddie Rame Last Name
What is the property? Check all that apply. Do not deduct secured clairns or exemptions. Put
; j the amount of any secured claims on Schedule D:
1.3. LI Single-family home oo Creditors Who Have Claims Secured by Property.
Street address, if available, or other description Q Duplex or multi-unit building
CI condominium or cooperative Current value ofthe Current value of the
entire ? ortion you own?
CJ Manufactured or mobile home Property P y
C2 Land $ $
CI investment property
7 4 Describe the nature of your ownership
Cc State ZIP Code Ti
ry i Ud Timeshare interest (such as fee simple, tenancy by
() other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
C2} Debtor 1 only
County C} Debtor 2 only
(2 Debtor 4 and Debtor 2 only CJ Check if this is community property
CJ At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as locai
property identification number:
Add the dollar value of the portion you own for all of your entries from Part i, including any entries for pages $ 19,317.00
you have attached for Part 1. Write that number here. ...... 0.00.00... cee ee i ee rer nr ner nereeneene ernest > rs

Describe Your Vehicles

 

 

 

 

 

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

C] No

i Yes

3.4. Make: Honda
Model: CRV
Year: 2002

Approximate mileage: 247,000
Other information:

If you own or have more than one, describe here:

3.2. Make:
Model:
Year:

Approximate mileage:

 

Other information:

Official Form 106A/B

Who has an interest in the property? Check one.

a Debtor 1 only

LJ Debtor 2 only

(} Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

CI) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CL] Debtor 4 only

Cl Debtor 2 only

(2 Debtor 4 and Debtor 2 only

() At least one of the debtors and another

(.} Check if this is community property (see
instructions)

Schedule A/B: Property

Do nol deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

§ 1,859.00 ¢ 1,859.00

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

page 2

a

 

 

 
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Who has an interest in the property? Check one.

‘Debtor Darlene Lynette Walls
First Name Middle Name
3.3. Make:
Model: CJ Debtor 4 only
LJ Debtor 2 only
Year:

Approximate mileage:
Other information:

3.4. Make:
Model:
Year.
Approximate mileage:

Other information:

 

(J Debtor 4 and Debtor 2 only
C] At Jeast one of the debtors and another

C] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

e

CJ pebtor 1 only

LI Debtor 2 only

J Debtor 4 and Debtor 2 only

(2 Atteast one of the debtors and another

(J check if this is community property (see
instructions)

Case number @huaws

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

ai No
C2 Yes

4.1. Make:
Model:
Year:

Other information:

If you own or have more than one, list here:

4.2. Make:
Model:
Year:
Other information:

Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Official Form 106A/B

Who has an interest in the property? Check one.

L} Debtor 4 only

G] Debtor 2 only

(J Debtor 1 and Debtor 2 only

(J At east one of the debtors and another

(J Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

(2 Debtor 4 only

CJ Debtor 2 only

(] Debtor 1 and Debtor 2 only

(J At east one of the debtors and another

(J check if this is community property (see
instructions)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4,859.00

 

Schedule AJB: Property

 

page 3

 

 
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“pebtor1’ Darlene Lynette Walls Case number qinoun

 

 

First Name Middle Name Cast Name

Describe Your Personal and Household items

 

 

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
J No
CI Yes. Deseribe........ Bed, linen, kitchenware

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

QC) No
\d Yes. Describe......... Tablet, netbook (computer)

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
t@ No

LJ Yes. Describe.......... Painting

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

t4 No
CJ Yes. Describe..........

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

t4 No
C] Yes. Describe..........

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

4 No
L} Yes. Deseribe.......... Everyday clothes, shoes, accessories

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

CI No

Wd Yes. Describe........ Everyday jewelry, 10 kt gold jewelry (i.e. 2 rings & 1 necklace)

13.Non-farm animals
Examples: Dogs, cats, birds, horses

LA No
CJ Yes. Describe...........

14 Any other personal and household items you did not already list, including any health aids you did not list

LA No

C2 Yes. Give specific
information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here occ ceccsscssscessssnsessesscssssesssusesscesessinessnsessenesseneceuesssenessiessistsanerestenesnsstesseneeenserss »

Official Form 106A/B Schedule A/B: Property

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

 

 

 

$ 65.00
$ 55.00
$ 10.00
$ 0.00
$ 0.00
$ 150.00
$ 50.00

$ 0.00

$ 0.00

$______ 330.00.

 

 

 

page 4
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Debtor1' Darlene Lynette Walls Case number @knovn
Fist Name Middie Name Last Name

 

 

Describe Your Financial Assets

 

 

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

or exemptions. :
|
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition |
|
CI No |
WD VS oc ecccsscssesestsennenntnntsennennsnanenstsennonsensesssnseeaansenenntseiseistenseistsetineistiscninnnetneese CASH cooccccccscceceeeeecee $ 7.00
|
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each. |
C] No |
1 Ves oe institution name:
17.1. Checking account: MidFlorida $ 24.46
17.2. Checking account: $
17.3. Savings account: MidFlorida $ 100.00
17.4, Savings account: Atlanta Postal Credit Union $ 25.00 |
|
17.5. Certificates of deposit: $ |
17.6. Other financial account: _Bank of America $ 5.00 :
17.7. Other financial account: $
17.8. Other financial account: $ |
17.9. Other financial account: $ |
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investrnent accounts with brokerage firms, money market accounts
Wi No
CD Yes oe Institution or issuer name:
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
i No Name of entity: % of ownership:
(} Yes. Give specific 0% %
information about
THEM... eee 0% %
0% % 5

Official Form 106A/B Schedule A/B: Property page 5
Case 8:19-bk-02987-MGW Doc1 Filed 04/01/19 Page 16 of 63

Debtori Darlene Lynette Walls Case number @inosn
First Name Middle Name Last Name

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those yau cannot transfer to someone by signing or delivering them.

ii No

Cl Yes. Give specific Issuer name:
information about

HEM $

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$
$
21. Retirement or pension accounts
Examptes: Interests in JRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
{J No
i Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: §
Pension plan: $.
IRA: Vanguard $ 25.00
Retirement account $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecammunications
companies, or others
(4 No
i I (- Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rentai unit: $
Prepaid rent $
Telephone: $
Water: $
Rented furniture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
Wi No
Q YOS oe issuer name and description:
$
$

 

Official Form 106A/B Schedule AJB: Property page 6

 

 
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Debtor1 | Darlene Lynette Walls Case number gtnaany

 

 

First Name Hide Name Last Nasve

24. interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
No

CD VES nner Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

No

CL] Yes. Give specific
information about them.... $

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: internet domain names, websites, proceeds from royalties and licensing agreements

Wi No

(] Yes. Give specific
information about them.... $

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

Wi No

L) Yes. Give specific
information about them... $

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

W No

(J Yes. Give specific information
about them, including whether
you already filed the returns State:
and the tax years. ......... ee

Federal: $

Local: $

29. Family support
Examples: Past due or lump sum alimony, spousal support, chiki support, maintenance, divorce settlement, property settlement

Wi No

CI} Yes. Give specific information............
Alimony:

Maintenance:
Support:

Divorce settlement:

il

Property settlement:

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
Wi No

C) Yes. Give specific information..............

Official Form 106A/B Schedule A/B: Property page 7

 

 
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Debtor 4 Darlene Lynette Walls Case number @inonn
First Name Middle Name Last Name

 

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

(3 No

\@ Yes. Name the insurance company

: a Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

NY Lifef/AARP Insurance Debra Davenport $ 18.00

 

 

 

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

No
CG] Yes. Give specific information..............

 

$
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue
C3 No
. Descri | . .
(2 Yes. Describe each claim 2/2019 fell @ We Care Health Center; did not file a claim; agency i 0.00
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims
(2 No
CI Yes. Describe each claim. «0.0.0...
$
35. Any financial assets you did not already list
4 No
CJ Yes. Give specific information............ $
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that mumber hare occ ccc cescsssssssseesssssssssesssscessssecsssstsnsesusnsecssscensecteasessisenssneessnasessueccsassesasectaneestees »> $ 204.46

 

 

 

 

Describe Any Business-Related Property You Gwn or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
(4 No. Go to Part 6.
LJ Yes. Go to line 38.

 

 

|
Current value of the |
portion you own? |
Do not deduct secured claims
or exemptions. |
38. Accounts receivable or commissions you already earned |
CI No
(I Yes. Describe.......
$
39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, moderns, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
CI No
Cl Yes. Describe....... $

Official Form 106A/B Schedule A/B: Property page 8
Case 8:19-bk-02987-MGW Doc1 Filed 04/01/19 Page 19 of 63

Debtor: Darlene Lynette Walls Case number (noun
First Name hake Name Last Name

 

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

C3 No

CJ Yes. Describe....... §
41. Inventory

(J No

CJ Yes. Describe....... $

 

42, interests in partnerships or joint ventures

LJ No

L) Yes. Describe....... Name of entity: % of ownership:
% $
%
% $

Ria

 

43. Customer lists, mailing lists, or other compilations
C2 No
C] Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

CG] No
CJ Yes. Describe. ........

44. Any business-related property you did not already list
LJ No

C] Yes. Give specific
information .........

 

 

 

 

 

Ff Ff Ff Ff fF

 

 

45. Add the dollar value of all of your eniries from Part 5, including any entries for pages you have attached $
for Part 5. Write that mumber Were 0.0... ccccccoecccecececceeeeeeccnnesceecavecennesecennecensuverescnsvessaueessneetesersneesseneteen »

 

 

 

 

3 Describe Any Farm- and Commercial Fishing-Related Property You Gwn or Have an interest In.
if you own or have an interest in farmland, list it in Part 1.

 

 

46. Do you own or have any legal or equitable interest in any farm- or commerciat fishing-related property?
bf No. Go to Part 7.
CJ Yes. Go to line 47.

Current value of the

portion you own?
Do not deduct secured claims
or exemptions.
47. Farm animals

Examples: Livestock, poultry, farm-raised fish

Cl No

Cb VOS ooo ceecceccceeee

$

Official Form 106A/B Schedule A/B: Property page 9

 
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Debtor 1 Darlene Lynette Walis Case number (hwan),
First Name Middie Name Last Name

 

 

48. Crops—either growing or harvested

C] No

CJ Yes. Give specific
information. ............ 3

49. Farm and fishing equipment, implements, machinery, fictures, and tools of trade

CI No
CD Ves oo ccccscce

50. Farm and fishing supplies, chemicals, and feed

C] No
CD Ves i cccccccccsseteeee

51.Any farm- and commercial fishing-related property you did not already list
() No

C) Yes. Give specific
information. ............ $

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that mumber Were oo... cc ccccccsssssssssnsecsssecnscunsnnsnseeseccessnamunsseceeeeseecssssunsnmensecesssssssanmarseseeeecessnssnnuasessesee »>

 

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

Wd No

CJ Yes. Give specific
information. .............

 

54. Add the dollar value of all of your entries from Part 7. Write that number here ee »> $0.00

 

 

 

List the Totals of Each Part of this Form

 

55. Part 1: Total real estate, firme 20.0... cc ecccccccescecseessstsssscsssessvcesesssessveveceeesucsavaseussssuecsesssuvasvussanessetssevesvessecicanevarsisasessecaseeeavenserece > $ 19,317.00

56. Part 2: Total vehicles, line § 1,859.00

Aa

57. Part 3: Total personal and household items, line 15 $ 330.00

58. Part 4: Total financial assets, line 36 gs 204.46
59. Part 5: Total business-related property, line 45 $ 0.00
60. Part 6: Total farm- and fishing-related property, line 52 g_———~.00

61. Part 7: Total other property not listed, line 54 +s 0.00

62. Total personal property. Add lines 56 through 61. ...........0.. $ 2,393.46 Copy personal property total > +¢ 2,393.46

 

63. Total of all property on Schedule A/B. Add line 55 + line 62...ccccccsccccssssssscosssseosssssecseseseseneusseceuanaceetsenensaseseeenanee g___21,710.46

 

 

 

Official Form 106A/B Schedule A/B: Property page 10

 
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Fillin this information to deed et a

Debtor 4 Darlene Lynette Walls
Farsi Name Maddie Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name

 

United States Bankruptcy Court for the: Middle District of Florida

 

Case number C2 Check if this is an
(if known) amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt oaite

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying comect information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
Space is needed, fill out and attach to this page as many copies of Part 2: Addifional Page as necessary. On the ton of any additional pagas, write
your name and case number (if known).

 

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dellar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

identify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

wi You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
(J You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value ofthe Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Bret tion  -Plimary residence $19,317.00 Zs 19,317.00 Georgia 44-13-100(a)(1) &
description: (a)(6), 44-13-1
Line from C} 100% of fair market value, up to ,
Schedule AB: 1-1 any applicable statutory limit
description, © Wehicle- Honda RV 1,859.00 Wi s 1,859.00 Georgia 44-13-100(a)(3)
: CJ 100% of fair market value, up to
Sura AB: aAi_ any applicable statutory limit
description: Clothes, shoes & oth 230.00 Wi ¢ 230.00 Georgia 44-13-100(a)(4)
Line from C2 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

W No

U2 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
CG] No
Q) Yes

Official Form 106C chedule C: The Property You Claim as Exempt page 1 of 2_

 
Case 8:19-bk-02987-MGW Doc1 Filed 04/01/19 Page 22 of 63

Debtor Darlene Lynette Walls Case number (einoun
First Hamme Mekie tame Last Name

 

 

  

Additional Page

 

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:
Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Official Form 106C

Everyday jewelry

Current value of the Amount of the exemption you claim Specific laws that allow exemption
portion you own

Copy the value from Check only one box for each exemption
Schedule A/B

$ 10.00 Ws 40.00 Georgia 44-13-100(a)(5)

€) 100% of fair market value, up to
any applicable statutory limit

 

 

§ L$

CJ 100% of fair market value, up to
any applicable statutory limit

 

$ L$

C2 100% of fair market value, up to
any applicable statutory fimit

 

$ Lis

(all 100% of fair market value, up to
any applicable statutory limit

 

$ Cs

C2 100% of fair market value, up to
any applicable statutory limit

 

$ Ls

CJ 100% of fair market value, up to
any applicable statutory limit

 

$ tls

CJ 100% of fair market value, up to
any applicable statutory limit

 

$ Lis

(2 100% of fair market value, up to
any applicable statutory limit

 

$ Cis

() 100% of fair market value, up to
any applicable statutory limit

 

$ L$

C} 100% of fair market value, up to
any applicable statutory limit

 

$ Cs

C] 100% of fair market value, up to
any applicable statutory limit

 

$ Lg

C) 100% of fair market value, up to
any applicable statutory limit

 

Schedule C: The Property You Claim as Exempt page 2 of 2

 
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Fill in this information to identify your case:

Debtor 4 Darlene Lynette Walls
First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number

(if known) Q) Check if this is an
amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 1215

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

1. Do any creditors have claims secured by your property?
wi No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
C2 Yes. Fill in all of the information below.

[EEE List all Secured Claims
CoumA «= CoumnB
2, List all secured claims. If a creditor has more than one secured claim, list the creditor separately ‘Amour | Value of collateral

   

   
 

 

 

 

 

 

 

 

 

 

 

for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2, Donotdeduct the _— that supports this portion __
As much as possible, list the claims in alphabetical order according to the creditor's name. value ofcollateral, claim any
2.4] Describe the property that secures the claim: $ $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
CQ) Contingent
OQ Unliquidated
City State ZIP Code ©) bisputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C) Debtor 1 only C] An agreement you made (such as mortgage or secured
Cl pebtor 2 only car loan)
() Debtor 4 and Debtor 2 only C] Statutory tien (such as tax lien, mechanic's lien)
(C2 Atleast one of the debtors and another (2 Judgment lien from a lawsuit
C] Other (including a right to offset)
QC] Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of accountnumber
| 2.2] Describe the property that secures the claim: $ $ $

 

 

 

Creditor’s Name

 

 

 

 

 

Number Street . . I
As of the date you file, the claim is: Check all that apply.
) Contingent
Q) Unliquidated
City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C} Debtor 1 only C) An agreement you made (such as mortgage or secured
(1 Debtor 2 only car loan)
C) Debtor 4 and Debtor 2 only L] Statutory lien (such as tax lien, mechanic's lien)
C) At least one of the debtors and another C1 Judgment lien from a lawsuit

C) Other (including a right to offset)
() Check if this claim relates to a

community debt
Date debt was incurred Last 4 digits of account number __

Add the dollar value of your entries in Column A on this page. Write that number here: f

 

 

 

 

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1

 
Case 8:19-bk-02987-MGW Doc1 Filed 04/01/19 Page 24 of 63

al fi this information to identify your case:

Darlene Lynette Walls

Middle Name

Debtor 7

 

First Name Last Name

Debtor 2
(Spouse, if filing) First Name

 

Middie Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

Cl Check if this is an

Case number amended filing

(If known)

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B;: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the feft. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

12/15

au List All of Your PRIORITY Unsecured Claims

 

4. Do any creditors have priority unsecured claims against you?

A No. Go to Part 2.
CJ Yes.

 

 

 

 

 

 

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type. of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

Priority Creditors Name

 

Number Street

 

 

City State ZIP Cade

Who incurred the debt? Check one.

CQ Debtor 4 only

Q) debtor 2 only

C) Debtor 4 and Debtor 2 only

C) At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

CI No
Q Yes

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim Priority Nonpriority
amount amount
2.1
Last4 digits ofaccountnumber ss CS $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply
City Stale ZIP Gode 1 Contingent
; > C2 Unliquidated
Who incurred the debt? Check one. C2 disputed
C1] Debtor 1 only
C) Debtor 2 only Type of PRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only C) Domestic support obligations
At least one of the debtors and another () Taxes and certain other debts you owe the government
UI Check if this claim is for a community debt C) Claims for death or personal injury while you were
: Is the claim subject to offset? intoxicated
QO} No (2 Other. Specify
C) Yes
2 | Last4 digits ofaccountnumber og $ $

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply
Q Contingent

Q Unliquidated

( Disputed

Type of PRIORITY unsecured claim:
Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

O ooo

 

page 1 of |

 

 
Case 8:19-bk-02987-MGW Doc1 Filed 04/01/19 Page 25 of 63
Debtor 4 Darlene Lynette Walls

First Name Middle Name Last Name

Case number @anoany

 

List All of Your NONPRIORITY Unsecured Claims

 

 

3. Do any creditors have nonpriority unsecured claims against you?

C1] No. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured
claims fill out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

Total claim

fr | Apria Healthcare- Patient Billing Center Last 4 digits of account number _8 7 2 7 67.57

Nonpriority Creditors Name 04/30/2041 8 *

1340 S. Highland Ave. When was the debt incurred?

Number Street

Jackson TN 38301

City State ZIP Code As of the date you file, the claim is: Check all that apply.

Ql Contingent

Who incurred the debt? Check one. C) unliquidated

rv.) Debtor 1 only | Disputed

(2 Debtor 2 only

Q) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:

C2] At least one of the debtors and another LD Student toans

C] Check if this claim is for a community debt (2 Obtigations arising out of a separation agreement or divorce

that you did not report as priority claims

{s the claim subject to offset? {2 Debts to pension or profit-sharing plans, and other similar debts

i No Wf other. Specity Medical supply company

C) Yes
f:2 | Atlanta Postal Credit Union Last 4 digits of accountnumber 8 2 8 7 ,1,538.39_

Nonpriority Creditors Name When was the debt incurred? 02/28/2019

3900 Crown Rd SE

Number Street

Atlanta GA 30380 As of the date you file, the claim is: Check ail that apply.

City State ZIP Code QO Contingent

Who incurred the debt? Check one. C2 unliquidated

@ debtor 1 only C1 Disputed

(2 Debtor 2 only .

(2 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:

(CJ Atleast one of the debtors and another (J) Student toans

eee 4 . im Obligations arising out of a separation agreement or divorce

C] Check if this claim is for a community debt that you did not report as priority claims

Is the claim subject to offset? {J Debts to pension or profit-sharing plans, and other similar debts

i No (ff other. Specity_Checking account

Cl ves
[ss | Atlanta Postal Credit Union Visa Last 4 digits of account number 7 2 9 9 41.100.45

Nonpriority Creditors Nam eee

aid a When was the debt incurred? _04/01/2011

P.O. Box 4521

Number Street

Carol Stream iL 60197 —_

City Sas FP Cole As of the date you file, the claim is: Check all that apply.

Who incurred the debt? Check one.

Ww Debtor 1 only

@ Debtor 2 only

() Debtor 4 and Debtor 2 only

(2 At least one of the debtors and another

C2 Check if this claim is for a community debt

 

 

Q Contingent
(2 Untiquidated
C} Disputed

Type of NONPRIORITY unsecured claim:

(2 student toans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

 

Oh te claim subject to offset? (J debts to pension or profit-sharing plans, and other similar debts
lo

Other. Speci
(2 Yes a pecity

Official Farm 108F/F

Schedule EJF: Creditars Who Have Unsecured Claims

nane 2 of 7

 
Debtor 1

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Darlene Lynette Walls

 

First Name Middie Name Last Name

Case number @ iow)

Your NONPRIGRITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

4.4

 

 

 

 

45

 

 

 

Official Form 108F/F

Bank of America

 

Nonpriority Creditors Name

P.O. Box 982234

 

Number Street

El Paso TX 79998

 

City State ZiP Code

Who incurred the debt? Check one.

(4 Debtor 1 only

C2 debtor 2 only

(2 Debtor 1 and Debtor 2 only

C2 At teast one of the debtors and another

C] Check if this claim is for a community debt
Is the claim subject to offset?

mi No
C) ves

BayCare Health System

 

Nonpriority Creditors Name

P.O. Box 31696

 

Number Street

Tampa FL 33631

 

City State ZIP Coda

Who incurred the debt? Check one.

fi Debtor 1 only

C) Debtor 2 only

UJ Debtor 1 and Debtor 2 only

LJ At least one of the debtors and another

(2) Check if this claim is for a community debt
Is the claim subject to offset?

vf No
LJ Yes

Capital One- Correspondence

 

Nonpriority Creditors Name

P.O. Box 30285

 

Number Street

Salt Lake City UT 84130

 

City State ZIP Code

Who incurred the debt? Check one.

| Debtor 1 only

CJ Debtor 2 only

CJ Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?

| No
C) Yes

Last 4 digits of account number 2 3 6 5
11/10/2014

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

CJ Contingent
C) unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

CJ Student ioans

i Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Cl Debts to pension or profit-sharing plans, and other similar debts

GA other. Specify. Credit card company

 

Last 4 digits of account number 5 8 8 1

When was the debt incurred? 11/01/2018

As of the date you file, the claim is: Check all that apply.

QQ Contingent
Q Unliquidated
Disputed

Type of NONPRIORITY unsecured claim:

(2 student loans

| Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Q) pets to pension or profit-sharing plans, and other similar debts

(A other. specify_ Medical services

 

Last 4 digits of accountnumber 7 8 6 5

When was the debt incurred? 10/01/2018

As of the date you file, the claim is: Check all that apply.

Q Contingent
(J unliquidated
(1 disputed

Type of NONPRIORITY unsecured claim:

C2 Student toans

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CJ Debts to pension or profit-sharing plans, and other similar debts

(A other. specify Credit card company

Schariile EIF: Creditors Who Have Unsecured Claims

Total claim

5 1,096.35

s__ 250.00

¢ 5,062.89

nana 3 of f

 

 
Cas
Debtor 1 Darlene Lynoite Walls

 

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Case number qrincwm,
First Name Middle Name Last Name
Your NONPRIORITY Unsecured Claims — Continuation Page
After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Fotal claim

 

4 Chase Cardmember Services

 

 

 

Nonpriority Creditors Name

P.O. Box 15298

Number Street

Wilmington DE 19850
City State ZIP Code

Who incurred the debt? Check one.

J Debtor 1 only

(3 Debtor 2 only

CJ Debtor 4 and Debtor 2 only

(2 At least one of the debtors and another

Y Check if this claim is for a community debt
Is the claim subject to offset?

6 No
C] ves

 

48

 

 

 

Citicards (Sears)

 

Nonpriority Creditor’s Name

P.O. Box 6286

 

Number Street

Sioux Falls SD 57117

 

City State ZIP Gode

Who incurred the debt? Check one.

4 Debtor 1 only

LJ Debtor 2 only

(2 Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

LJ Check if this claim is for a community debt
Is the claim subject to ofiset?

ta No
C] Yes

Paragon Emergency Services

 

 

 

Nonpriority Creditors Name

P.O. Box 459077

Number Street

Sunrise FL 33345
City State ZIP Cade

Who incurred the debt? Check one.

i Debtor 1 only

CJ] Debtor 2 only

LJ Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

CI Check if this claim is fora community debt

Is the claim subject to offset?

td No
C2 Yes

Official Form 106F/F

Schaduie FIF: Cracitors Who Have Unsecured Claims

Last4 digits of accountnumber 7 7 O 9 5 2,365.61

When was the debt incurred? 04/01/2008

As of the date you file, the claim is: Check all that apply.

Q Contingent
Cl untiquidated
C) Disputed

Type of NONPRIORITY unsecured claim:

{2 Student toans

Ql Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(2 Debts to pension or profit-sharing plans, and other similar debts

if other. Specify Credit card company

 

Last 4 digits of accountnumber 4 8 3 5 $ 12,869.44

 

When was the debt incurred? 11/01/2011

As of the date you file, the claim is: Check all that apply.

C2 Contingent
(2 unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

CJ Student toans

Cl] Obligations arising out of a separation agreement or divorce that
you did not report as priorify claims

CJ Debts to pension or profit-sharing plans, and other similar debits

(A other. Specity_Credit card company

146.00
Last 4 digits of account number 3 7 0 2. &—___——.

When was the debt incurred? 11/01/2018

As of the date you file, the claim is: Check all that apply.

C) Contingent
Cl] untiquidated
CJ disputed

Type of NONPRIORITY unsecured claim:

CI student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

{2 Debts to pension or profit-sharing plans, and other similar debts

(A other. Specify. Medical services

nane 4 at?

 
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Cas
Debtor 4 Darlene Lynette Walls

 

 

 

Case number (Fimo),
First Name Middle Name Last Name
Rie, Your NGNPRIGRITY Unsecured Claims — Continuation Page
After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

4h

 

 

 

Walmart/Synchrony Bank

 

Nonpriority Creditors Name

P.O. Box 530927

 

Number Street

Atlanta GA 30353

 

City Stale Zip Code

Who incurred the debt? Check one.

(a Debtor 1 only

{J Debtor 2 only

(2 Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

() Check if this claim is for a community debt
Is the claim subject to offset?

 

 

 

 

 

 

 

od No

CI) ves

Nonpriority Creditors Name

Number Street

City State dZiP Code

Who incurred the debt? Check one.

C2 Debtor 1 only

CI} Debtor 2 only

(2 Debtor 1 and Debtor 2 only

(2) At least one of the debtors and another

(J Check if this claim is for a community debt

ts the claim subject to offset?

CI No
Cl Yes

 

Nonpriority Creditors Name

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

(2 Debtor 4 only

{2 Debtor 2 onty

UJ Debtor 1 and Debtor 2 only

CI At least one of the debtors and another

Cl Check if this claim is for a community debt

Is the claim subject to offset?

CI No
(2 Yes

Official Farm 108F/F

Scheduta EM-: Cractitars Who Have Unsecured Claims

Last 4 digits of account number 9 2 3 6 _ gs 517.64

When was the debt incurred? 08/01/2018

As of the date you file, the claim is: Check all that apply.

Q Contingent
C1 unliquidated
(I Disputed

Type of NONPRIORITY unsecured claim:

{2 student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(2 Debts to pension or profit-sharing plans, and other similar debts

&A other. Specify Credit card company

 

Last 4 digits ofaccount number

ee $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

(2 Contingent
CI Unliquidated
C) Disputed

Type of NONPRIORITY unsecured claim:

C] Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CI Debts to pension or profit-sharing plans, and other similar debts

CJ other. Specify

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
CJ Unliquidated
C) Disputed

Type of NONPRIORITY unsecured claim:

(2 Student foans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

{) Debts to pension or profit-sharing plans, and other similar debts

() other. Specify

nane 5 of 7

 
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Debtor 1 Darlene Lynette Walls Case number @inon
First Name Middle Name Last Name

 

 

List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debis that you listed in Parts 4 or 2, list the
additional creditors here. {ff you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ARstrat, LLC On which entry in Part 1 or Part 2 did you list the original creditor?
Name
2703 N. Hwy 75, Ste. B Line 4.1 of (Check one): CJ Part 1: Creditors with Priority Unsecured Claims
Number Street W Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number 9 6 0 R |
Sherman TX 75090 8 ==
City State ZiP Code
Plantation Billing Services On which entry in Part 1 or Part 2 did you list the original creditor?
Name
P.O. Box 459077 Line 4.9 of (Check one): Q) Part 1: Creditors with Priority Unsecured Claims
Number Street (4 Part 2: Creditors with Nonpriority Unsecured
Claims
Sunrise FL 33345 Last 4 digits of accountnumber_3 7 0 2
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): (2 Part 1: Creditors with Priority Unsecured Claims
Number Street (J Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street (] Part 2: Creditors with Nonpriority Unsecured
Claims
- Last 4 digits ofaccount number
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): () Part 4: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): (1 Part 1: Creditors with Priority Unsecured Claims
Number Street {J Part 2: Creditors with Nonpriotity Unsecured
Claims
Last 4 digits ofaccountnumber
City State ZIP Code
i On which entry in Part 4 or Part 2 did you list the original creditor?
ame
Line of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
Numbe: §
umes Wreet LI Part 2: Creditors with Nonpriority Unsecured
Glaims
éiy Sate TIP Code Last 4 digits of account number

Official Form 106F/F Schedule EF/F-: Craditors Who Have Unsecured Claims nane 6 of 7
pebtor? Darlene iSase ids Dk 02987-MGW Doc1 Filed 04/01/19 Page 30 of 63

Case number @ knoe)

Add the Amounts fer Each Tyee of Unsecured Claim

 

First Name Middle Name Last Name

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Total claims
from Part 2

Official Form 106F/F

6a.

6c.

6d.

6h.

6i.

Domestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you were
intoxicated

Other. Add ail other priority unsecured claims.
Write that amount here.

. Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add ail other nonpriority unsecured claims.
Write that amount here.

6}. Total. Add lines 6f through 6i.

6a.

6b.

6c.

6e.

6f.

6g.

6h.

Gi.

6j.

 

 

 

 

 

 

Total claim
$ 0.00
$ 0.00
5 0.00
+5 0.00
$ 0.00
Total claim
$ 0.00
$ 0.00
5 0.00
+5 0.00
5 0.00

 

 

Schedule E/F: Creditors Who Have Unsecurad Claims

nana 7 of 7

 
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Fill in this information to identify. your case:

 

 

 

Debtor Darlene Lynette Wallls

First Name Middle Name Last Name
Debtor 2
(Spouse If filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

 

Case number

(if known) C) Check if this is an
amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

|
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct |
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any |

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases? |
4 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.

C) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for
i
2.1)
Name
Number Street
City State ZIP Code
ic .
2.2)
Name
Number Street
City State ZIP Code
23
Name
Number Street
___ City ___ State ZIP Code
2.4
Name
Number Street
City State ZIP Code
25
Name
Number Street
City State ZIP Code

 

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of 1
Case 8:19-bk-02987-MGW Doc1 Filed 04/01/19 Page 32 of 63

Fill in this information to identify your case:

Debtor 4 Darlene Lynette Walls

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number
(If known)

 

 

CJ Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12/15

 

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

71 No
C) Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

W No. Go to line 3.
L] Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

QO) No

C] Yes. In which community state or territory did you live? . Fillin the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Cade

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2; The creditor to whom you owe the debt

Check all schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

3.4
C2) Schedule D, line
Name
() Schedule E/F, line
Number Street C] Schedule G, line
City State ZIP Code
3.2
C) Schedule D, line
Name ——
QC) Schedule E/F, line
Number Street CL) Schedule G, line
City State _. ZIP Code
3.3
C) Schedule D, line
Name
O) Schedule E/F, line
Number Street LC] Schedule G, line
City . State ZIP Code

 

 

Official Form 106H Schedule H: Your Codebtors page 1 of 1

 
Case 8:19-bk-02987-MGW Doc1 Filed 04/01/19 Page 33 of 63

Fillin this information to identify your case:

Debtor 4 Darlene Lynette Walls

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida |

Case number Check if this is:
(If known)
C] An amended filing

Cl A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 MMT DDT YW
Schedule I: Your Income 4125

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

coe Describe Employment

1. Fill in your employment .
information. Debtor 4 Debtor 2 or non-filing spouse

 

 

 

 

 

 

 

If you have more than one job,

attach a separate page with
information about ecitional Employment status CQ) Empioyed UL] Employed

employers. i Not employed ) Not employed

Include part-time, seasonal, or
self-employed work.

 

N/A
Occupation may include student Occupation

or homemaker, if it applies.
Employer's name

 

Employer's address

 

 

 

 

Number Street Number Street
City State ZIP Code City State ZIP Code
How long employed there? N/A N/A

fa Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

 

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 0.00 $
3. Estimate and list monthly overtime pay. 3. +3 0.00 + $
4. Calculate gross income. Add line 2 + line 3. 4, g___0.00 $

 

 

 

 

 

 

 

Official Form 106! Schedule I: Your Income page 1

 
Case 8:19-bk-02987-MGW Doc1 Filed 04/01/19 Page 34 of 63

Debtor 1 Darlene Lynette Walls

 

 

 

 

Case number (known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

13.Do you expect an increase or decrease within the year after you file this form?

CJ No.

 

 

 

 

First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy fine 4 Bere... ccce sess sesssseseesseesesesseseseensseseresaesueseansaesnassreeneases 34 ¢ 0.00 $
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. § 0.00 $
5b. Mandatory contributions for retirement plans 5b. §$ 0.00 $
Sc. Voluntary contributions for retirement plans 5e.  $ 0.00 $
5d. Required repayments of retirement fund loans 5d. §, 0.00 $
5e. Insurance Se. $ 0.00 $
5f. Domestic support obligations 5f. $ 0.00 $
5g. Union dues 5g. $ 0.00 $
5h. Other deductions. Specify: 5h. +§ 0.00 +43
6. Add the payroll deductions. Add lines 5a + 5b + 5¢ + 5d+5e+5f+5g+5h. 6. $ 0.00 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 0.00 $
8. List all other income requiarly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0.00 $
monthly net income. 8a. -
8b. interest and dividends 8b.  § 0.00 $
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce $ 0.00 $
settlement, and property settlement. 8c. +
8d. Unemployment compensation 8d. §. 0.00 $
8e. Social Security Be. $§ 0.00 $
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify. Food assistance eS 192.00 $
8g. Pension or retirement income 8. § 0.00 $
8h. Other montitly income. Specify: 8h. +3 0.00 +§
9. Add all other income. Add lines 8a + 8b + 8c + 8d + Be + Gf +8g + Bh. 9 | $ 192.00 $
10. Caiculate monthly income. Add line 7 + line 9. 492.00 0.00 492.00
Add the entries in fine 10 for Debtor 1 and Debtor 2 or non-filing spouse. 19.) $= 8 - 8 -
11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives,
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: Food assistance 11.6% § 0.00
12. Add the amount in the last column of line 10 to the ammount in line 11. The result is the combined monthly income. 492.00
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. SEY
Combined

monthly income

 

 

A Yes. Explain: |Increase- appeal in process re: SSI & SSDI benefits.

 

 

 

Official Form 106]

Schedule I: Your Income

page 2
Case 8:19-bk-02987-MGW Doc1 Filed 04/01/19 Page 35 of 63

Fill in this information te eae) ee ee

Debtort Darlene Lynette Walls —_ Check if this is:

 

 

Debtor 2 .
(Spouse, fing) FaaName Wnsnane L} An amended filing

; . ; QA supplement showing postpetition chapter 13
‘United States Bankruptcy Court for the: Middie District of Florida expenses as of the following date:

Case number ee
(i ) MM / DD/ YYYY

 

 

 

Official Form 106J
Schedule J: Your Expenses 125

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. [f more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

aria Describe Your Household

 

1. Is this a joint case?

7) No. Go to line 2.
Cl Yes. Does Debtor 2 live in a separate household?

LJ No
LI Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

2. Do you have dependents? if No oo
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and C2 Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent...
' LJ No
Do not state the dependents QO
names. Yes
CL] No
LJ Yes
Cl No
CJ Yes
C No
C] Yes
(2 No
C] Yes
3. Do your expenses include w No
expenses of people other than

yourself and your dependents? C} Yes

Part 2: Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance If you know the value of

 

such assistance and have included it on Schedule I: Your Income (Official Form 1061} Your expenses

4. The rental or home ownership expenses for your residence. include first mortgage payments and $ 0.00
any rent for the ground or lot. 4.
if not included in line 4:
4a. Real estate taxes 4a. § 41.00
4b. Property, homeowner's, or renter's insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4. § 20.00
4d. Homeowner's association or condominium dues 4d. $ 46.00

Official Form 106J Schedute J: Your Expenses page 1

 
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Debtor 1 Darlene Lynette Walls

10.
11.

12.

13.

14.

15.

16.

47.

18,

19.

20.

Specify:

 

First Name Middle Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

6c. Telephone, cell phone, Internet, satellite, and cable services
6d. Ofher. Specify:

 

. Food and housekeeping supplies

. Ghildcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance

16b. Health insurance

1c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a. Car payments for Vehicle 1

17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:

 

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule |, Your Income (Official Form 1061).

Other payments you make to support others who do not live with you.

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule J: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

 

 

 

 

 

Case number granosn,
Your expenses

5 $ 0.00
6a. §$ 45.00
6b. $ 45.00
6c | $ 0.00
6d. § 0.00
7. $ 197.00
8. $ 0.00
9. $ 10.00
10. §$ 10.00
u. §$ 55.00
40. $ 25.00
13. § 0.00
14. 5.00
15a. $ 48.00
1b. § 0.00
18. §$ 57.00
ie §. 0,00
17a. § 0.00
17. § 0.00
1%. § 0.00
17. $ 0.00

18. ¢ 0.00

19. $ 0.00
20a. $ 0.00
20n. $ 0.00
20c.  §$ 0.00
20g. § 0.00
20e. $ 0.00

page 2

 
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Debtor 1 Darlene Lynette Walls Case number @ oer,

 

First Name Middle Name Last Name

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23, Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule 1.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

C2 No.
tA Yes. Explain here: Increase- appeal in process re: SSI & SSDI benefits.

Official Form 106J Schedule J: Your Expenses

 

21.

22b.

226,

23a.

23b.

23e.

 

 

 

 

+5 0.00
$ 604.00
$ 0.00
$ 604.00

$ 192.00

=—$ 604.00

$ -412.00
page 3

 
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Fill in this information to identify your case:

Debtor 1 Darlene Lynette Walls

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number
(If known)

 

 

CJ Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42118

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a faise statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

8 Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

W No

CL] Yes. Name of person . Attach Bankruptey Petition Preparer’s Notice, Declaration, and

 

Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

x Vpulics _UAli «x

signture of Debtor 14 Signature of Debtor 2

Date OU} OL | ZO[9 Date
MM/ BD / WYYY MM/ DD / YYYY

 

 

 

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules
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Fill in this information to.identify your case:

Darlene Lynette Walls

Middle Name

Debtor 1

 

First Name Last Name

 

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

Case number |

(if known) C) Check if this is an
amended filing

 

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/16

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

| Part 1: Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

Q) Married
uv Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

QU No

uw Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor 1

lived there

Debtor 2: Dates Debtor 2

lived there

321 Concepts 21 Drive

 

Number Street

 

Lithonia GA 30058

 

City State ZIP Code

803 Cinnamon Drive East

 

Number Street

 

Winter Haven FL 33880

 

City State ZIP Code

From 05/08/2016

(J Same as Debtor 1

Q Same as Debtor 14

From

 

To 09/30/2018

Number Street

To

 

 

City

Qi Same as Debtor 1

State ZIP Code
CQ) Same as Debtor 1

From

 

To 05/07/2016

Number Street

To

 

 

City

State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property

states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Mf No

C] Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Ee Explain the Sources of Your Income

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 1

 
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Debtor 1 Darlene Lynette Walls

 

First Name Middie Name

Last Name

Case number finovn),

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

i No

CJ Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31,2018 )
YYYY

For the calendar year before that:
(January 1 to December 31,2017 )
YYYY

Debtor 4

Sources of income
Check all that apply.

CQ) Wages, commissions,
bonuses, tips

tJ Operating a business

] Wages, commissions,

bonuses, tips

Cl Operating a business

i | Wages, commissions,

bonuses, tips

] Operating a business

Gross income

(before deductions and
exclusions)

$ 0.00
$ 0.00
$ 0.00

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of ofher income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. if you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

Debtor 2

Sources of income
Check all that apply.

t) Wages, commissions,
bonuses, tips

Q Operating a business

Wages, commissions,
bonuses, tips

C] Operating a business

C) Wages, commissions,
bonuses, tips

C] Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

CI No
Wf Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:
(January 1 to December 31,2018)
YYYY

For the calendar year before that:
(January 1 to December 31,2017 __)
YYYY

Official Form 107

Debtor 1

Sources of income
Describe below.

income tax refurg

ood assistance _

IRA withdrawal
Income tax refurgg
Pre-settlement

IRA withdrawal

Income tax refurg

Gross income from
each source

(before deductions and
exclusions)

1,000.00

100.00
576.00

200.00
1,000.00
8,797.79

1,800.00

1,154.00

 

Debtor 2

Sources of income
Describe betow.

Statement of Financia! Affairs for Individuals Filing for Bankruptcy

Gross income

(before deductions and
exclusions)

 

Gross income from
each source

(before deductions and
exclusions)

 

page 2

 
Debtor 1 Darlene Lynette Walls Case number (f known).

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First Name

Middle Name

 

Last Name

a List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

C] No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

(] No. Go to line 7.

LI) Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

wi Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

WA No. Go to line 7.

(I Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Creditors Name

Dates of Total amount paid Amount you still owe
payment

 

Number

Street

 

 

City

State ZIP Code

 

Creditor’s Name

 

Number

Street

 

 

City

State ZIP Code

 

Creditor’s Name

 

Number

Street

 

 

City

State ZIP Code

Was this payment for...

C) Mortgage

CY car

Cl credit card

C] Loan repayment

QQ Suppliers or vendors
C) other

C) Mortgage

Q) car

LY credit card

CJ Loan repayment

a Suppliers or vendors
(2) other

Cl] Mortgage

C) car

C) credit card

CI Loan repayment

Q] Suppliers or vendors
C] other

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 3

 
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Debtor 4 Darlene Lynette Walls

First Name Middle Name Last Name

Case number (if known).

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,

such as child support and alimony.
wi No
C] Yes. List all payments to an insider.

Dates of
payment

 

Amount you still

 

Insider's Name

 

Number Street

 

 

City State ZIP Code

 

Insider's Name

 

Number Street

 

 

City State ZIP Code

 

Reason for this payment

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?
Include payments on debts guaranteed or cosigned by an insider.

7) No
C) Yes. List all payments that benefited an insider.

Dates of
payment

 

Insider's Name

Amount you still

 

 

Number Street

 

 

City State ZIP Code

 

insiders Name

 

Number Street

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

Reason for this payment
Include creditor's name

page 4

 
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Debtor 4 Darlene Lynetie Walls Case number grimonn
Fist Name Faris Marne Last Name

 

 

  

identify Legal Actions, Repossessions, and Foreclosures

 

“9. Within 4 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

Wi No

CJ Yes. Fill in the detaiis.

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
NA Slip & fall; case concluded Harvey Law, LLC a ;
Case fitle in pre-settlement phase. Court Name Pending
: C2 On appeal
4250 Alafaya Trail, Ste. 212-368 Pps
Number Street Al Concluded
Case number N/A Oviedo FL 32765
City State ZIP Code
Case fitle Court Name CJ Pending
C] on appeal
Nomber  Streei LJ concluded
Case number
City State ZIP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

Wf No. Goto line 11.
C} Yes. Fill in the information below.

 

 

 

 

 

 

 

 

 

 

Describe the property Date Value of the property
- $
Creditor’s Name
Number Street Exptain what happened
Q Property was repossessed.
L] Property was foreclosed.
C) Property was garnished.
City State ZIP Code tl Property was attached, seized, or levied.
Describe the property Date Value of the property
$
Creditors Name
Number Street
Explain what happened
Cl] Property was repossessed.
Cl Property was foreclosed.
oie We EE LJ Property was garnished.

QO Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

 

 

 

 
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Debtor1 Darlene Lynette Walls Case number (irknown)

 

 

First Name Middle Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

WZ No

CI Yes. Fill in the details.

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken

Creditors Name
|
$

Number Street :
i

City State ZIP Code Last 4 digits of account number: XXXX-

42. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

| No
LC) Yes

Ca List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

WA No

C) Yes. Fill in the details for each gift.

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code :
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person . : . . the gifts
$
Person to Whom You Gave the Gift

 

 

Number Street

 

City State ZIP Code

Person’s relationship to you

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

|
|

 

 

 
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Debtor 4 Darlene Lynette Walls Case number (rknown)

 

 

First Name Middle Name Last Name

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

Wi No

C] Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed

 

Charity’s Name

 

 

Number Street

 

City State ZIP Code

Part : | List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

Wf No

C) Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred . an a loss lost
Include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

|
i

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

W No

C) Yes. Fill in the details.

 

 

 

 

City State ZIP Cade

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid : made
Number Street i : $
$

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7
Case 8:19-bk-02987-MGW Doc1 Filed 04/01/19 Page 46 of 63

 

 

 

 

 

 

Debtor 4 Darlene Lynette Walls Case number (if known),
First Name Middle Name Last Name
Description and value of any property transferred Date payment or Amount of
transfer was made payment

Person Who Was Paid
$

Number Street
$

 

 

City State ZIP Code

 

Email or website address

 

 

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MW No

(2 Yes. Fill in the details.

 

 

 

Description and value of any property transferred Date paymentor Amount of payment
transfer was
made
Person Who Was Paid : i
Number Street : $
$

 

 

 

City State ZIPCode |

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.
wf No |
C) Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer |

 

Number — Street

 

 

 

City State ZIP Code

Person’s relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

 

 

City State ZIP Code sua a a cow Suwa

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8
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Debtor 1 Darlene Lynette Walls Case number (if known),
First Name Middle Name Last Name

 

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

i No

C] Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

W No

(C) Yes. Fill in the details.

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, _ closing or transfer
or transferred
Name of Financial Institution
XXXX— ) Checking $
Number Street Q Savings

Q Money market

 

Q Brokerage

 

 

 

City State ZIP Code Q) Other
XXXX-__ Q Checking _ $
Name of Financial Institution
(] Savings
Number Street Q Money market

Ql Brokerage

 

C) other

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

Wf No

CJ Yes. Fill in the details.

 

 

 

 

 

 

 

City State ZIP Code

 

Who else had access fo it? Describe the contents Do you still
have it?
|
| C] No
Name of Financial Institution Name ' QO) Yes
}
|
Number Street Number Street
i
City State ZIP Code
i

Official Form 107 Statement of Financial Affairs for Individuais Filing for Bankruptcy page 9

 

 

 

 
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Debtori Darlene Lynette Walls Case number tikaown)

 

 

First Name Middle Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
C) Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

 

 

 

City State ZIP Code

 

ifaw Give Detalls About Environmental Information

Who else has or had access to it? Describe the contents Do you still
have it?
QC No
Name of Storage Facility Name C) ves
Number Street Number Street
CityState ZIP Code j
i
t
City State ZIP Code '
eae identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
No
(2 Yes. Fill in the details.
Where is the property? Describe the property Value
Owner's Name i$
Numb Street
Number Street i
|
City State ZIP Code

 

For the purpose of Part 10, the following definitions apply:

Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of

hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Wi No

C) Yes. Fill in the details.

 

 

Governmental unit Environmental law, if you know it
Name of site Governmental unit
Number Street Number Street

City State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

Date of notice

page 10

 

 
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Debtor 1 Darlene Lynette Walls
First Name Maddie Name Last Nama:

Case number @knowny.

 

25. Have you notified any governmental unit of any release of hazardous material?

Wf No

CJ Yes. Fill in the detaits.

 

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street
City State ZIP Code

 

City State ZIP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Wi No

Cl Yes. Fill in the details.

 

 

 

 

 

Court or agency Nature of the case Status ofthe
Case title
Gout Name QQ) Pending
Q] on appeal
Number Street (CI conctudea
Case number City Stato ZIP Code

Pilates | Give Detalle About Your Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
A sole proprietor or self-employed in a trade, profession, or other activity, elther full-time or part-time
(2 A member of a limited liability company (LLC) or limited liability partnership (LLP)
LA partner in a partnership
Ql an officer, director, or managing executive of a corporation

CJ An owner of at least 5% of the voting or equity securities of a corporation

C] No. None of the above applies. Go to Part 12.
(ff Ves. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer identification number

Acquire Now Industries & Servic Do not include Social Security number or ITIN.

 

 

 

 

Business Name
. . Social services, printing & transportation
803 Cinnamon Drive East services P g P I ee
Number Street
Name of accountant or bookkeeper Dates business existed
Darlene Walls
Winter Haven FL 33880 From 12/15/2015To 06/01/2016
City State ZIP Code
Describe the nature of the business Employer [dentification number

 

- Do not include Social Security number or ITIN.
Business Name

 

 

EIN:
Number Street
Name of accountant or bookkeeper Dates business existed
From To

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11

 
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Debtor 1 Darlene Lynette Walls Case number (if known)

First Name Middle Name Last Name

 

 

Describe the nature of the business Employer Identification number

Do not include Social Security number or ITIN.

 

Business Name

 

 

 

i ‘
BINS
|
Number Street Name of accountant or bookkeeper Dates business existed
| From To

City State ZIP Code

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

Wi No

C) Yes. Fill in the details below.

Date issued

 

Name MM/DDIYYYY

 

Number Street

 

 

City State ZIP Code

Pore 2: Sen Hetow

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

x (Wil, LUlp— «

Signature of Debtor 1

 

Signature of Debtor 2

Date 0 Uf f 0 ( | 20 { q Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

(J No
C] Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
LC) No

L] Yes. Name of person . Attach the Bankruptcy Petition Preparers Notice,
Declaration, and Signature (Official Form 119).

 

 

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12
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Fill in this information to identify your case:

 

Debtor 1 Darlene Lynette Walls

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Middle District of Florida

Case number C] Check if this is an
(If known) amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 ia

 

If you are an individual filing under chapter 7, you must fill out this form if:

@ creditors have claims secured by your property, or

you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

| Part 4: | List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

 

Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditor’s CJ Surrender the property. C) No
name: N/A . ,
L) Retain the property and redeem it. C] Yes

Description of
property
securing debt:

O Retain the property and enter into a
Reaffirmation Agreement.

(J Retain the property and {explain]:

 

 

Creditor's CJ Surrender the property. LC) No
name:

C) Retain the property and redeem it. CI] Yes
Description of
property
securing debt:

C) Retain the property and enter into a
Reaffirmation Agreement.

C) Retain the property and [explainj:

 

 

Creditor’s C] Surrender the property. OI No
name:
C] Retain the property and redeem it. Cl Yes

Description of
property
securing debt:

(] Retain the property and enter into a
Reaffirmation Agreement.

C} Retain the property and [explain]:

 

 

Creditor’s C] Surrender the property. QC) No
name:
C] Retain the property and redeem it. C] Yes

Description of
property
securing debt:

CJ Retain the property and enter into a
Reaffirmation Agreement.

C2] Retain the property and [explain]:

 

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1

 
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Debtor 1 Darlene Lynette Walls Case number (If known)

First Name Middle Name Last Name

| Part 2: | List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

 

 

 

 

 

 

Describe your unexpired personal property leases Will the lease be assumed?
Lessor’s name: N/A CI No
aa C] Yes

Description of leased

property:

Lessor’s name: CI No
Cl Yes

Description of leased

property:

Lessor’s name: LI No

Description of leased C] Yes

property:

Lessor’s name: LI No
CL) Yes

Description of leased

property:

Lessor’s name: CJ No
L) Yes

Description of leased

property:

Lessors name: CJ No

an C] Yes

Description of leased

property:

Lessor’s name: CI] No
C] Yes

Description of leased
property:

Ee Sign Below

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

«Miu a LL Nhiz~ *

Signature of Debtor 1 Signature of Debtor 2

( 206
pate OY OI WY f Oa aT oT

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2

 

 

 
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ele elms aoa MRulen cellent
Form:122A-1Supp:

Fillin this information to identify your case:

    
   

Debtor1 Darlene Lynette Walls
First Name Middle Name Last Name

  
 

4. There is no presumption of abuse.
Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

(al 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
Means Test Calculation (Official Form 122A~2).

 
 
  

United States Bankruptey Court for the: Middle District of Florida

 
 

Case number
{if known)

(] 3. The Means Test does not apply now because of
qualified military service but it could apply later.

 
 

 

   

 

 

( Check if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income 12145

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

FREE Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.

Wi Not married. Fill out Column A, lines 2-11.
Q] Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

 

 

Q] Married and your spouse is NOT filing with you. You and your spouse are:
L) Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

QO Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B, By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptey law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result, Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. if you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
2. Your gross wages, salary, tips, bonuses, overtime, and commissions 0.00
(before all payroll deductions). $_____ 0.0 $
3. Alimony and maintenance payments. Do not include payments from a spouse if 0.00
Column B is filled in. $e $

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not 0.00
filled in. Do not include payments you listed on line 3. § : §

5. Net income from operating a business, profession, Debtor 4 Debtor 2
or farm

 

 

Gross receipts (before all deductions) g__0.00 $

Ordinary and necessary operating expenses —~$ 0.00-¢

Net monthly income from a business, profession, orfarm g 0.00 ¢ FOP, g 0.00 ¢
6, Net income from rental and other real property Debtor 9 0 Debtor 2

Gross receipts (before all deductions) $Y SL

Ordinary and necessary operating expenses ~g 0.00- 3

Net monthly income from rental or other real property g 0.00 ¢ peels, $ 0.00 $
7. Interest, dividends, and royalties $

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1

 

 
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Debtor 4 Darlene Lynette Walls Case number (i known)
First Name Middle Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ 0.00 $

 

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list It here: oo...

FOP YOU... ccscscsscssssvscsssvssssssesssvessssscssssesssssssssssnevscesecessenseasaye $ 0.00
FOr YOUF SPOUSE.....cessssssssesecssscsssssescsscessssserussssnuvesesensasnsenseds $ 0.00

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. $ 0.00 $

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. If necessary, list other sources on a separate page and put the total below.

 

 

 

Food assistance $192.00
$ 0.00 §
Total amounts from separate pages, if any. +¢ 0.00 +3
11. Calculate your total current monthly income. Add lines 2 through 10 for each + _
column. Then add the total for Column A to the total for Column B. ¢ 192.00 $ 0.00 |~}g 192.00

 

 

 

 

 

 

 

 

Total current
monthly income

ae Determine Whether the Means Test Applies to You

 

12. Calculate your current monthly income for the year. Follow these steps:

12a, Copy your total current monthly income from line 44......cccssssssssessescccccssecosssssssssssssesteveceesesecsassessassaveresesecec Copy line 11 here> | $192.00
Multiply by 12 (the number of months in a year). x 12
12b, The result is your annual income for this part of the form. 12b. | $__2,304.00 |

13. Calculate the median family income that applies to you. Follow these steps:

 

 

 

 

Fill in the state in which you live. FL
Fill in the number of people in your household. 1
Fill in the median family income for your state and size Of HOUSEMOIG. .........ccccsssssssscsssssssussssvsussescssssarsesssvasceussuscsscesnsssssssssansvtersetes 13. ¢ 64,003.00

 

 

 

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s office.

14, How do the lines compare?

44a. H@ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3,

14b. CJ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A—2,

EEF sion Below

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

Wn UMM x

 

Signature of Debtor 1 Signature of Debtor 2

Date OY OL 2014 Date
MM? DB 7 YWY MM? DD 7YYYY

If you checked line 14a, do NOT fill out or file Form 1224-2.
If you checked line 14b, fill out Form 122A~2 and file it with this form.

 

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2

 
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(Gite cc tel) clejoreciarg-e a Es

Fillin this information to identify your case:

lines 40 or 42:

Debtor 1 Darlene Lynette Walls
First Namo

. Icutati .
eae heme According to the calculations required by

this Statement:

Debtor 2
(Spouse, if filing) Fist tame Biddle Name

 

wf 1. There is no presumption of abuse.

United States Bantruptey Court for the: Middle District of Florida (2 2. There is a presumption of abuse.

 

 

Case number
(if known)

 

(2 Check ifthis is an amended filing

 

 

Official Form 122A—2
Chapter 7 Means Test Calculation 0416

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly income (Official Form 122A-1).

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).

Urata, Determine Your Adjusted income

 

1. Copy your total current monthly income. .............0...c eee tetreeeeteneenteee Copy fine 14 from Official Form 122A-1 hereS?............ $ 492.00

2. Did you fill out Column B in Part 1 of Form 122A—1?
tA No. Fill in $0 for the total on line 3.
Q) Yes. Is your spouse filing with you?
CQ) No. Go to fine 3.
CJ Yes. Fill in $0 for the total on line 3.

3. Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
household expenses of you or your dependents. Follow these steps:

On line 11, Column B of Form 122A—1, was any amount of the income you reported for your spouse NOT
regularly used for the household expenses of you or your dependents?

ti No. Fill in 0 for the total on line 3.
(2 Yes. Fill in the information below:

 

 

 

 

State each purpose for which the income was used Fill in the amount you
For example, the income is used to pay your spouse's tax debt or to support. are Subtracting from
people other than you or your dependents your spouse's income
$ 0
$
+$
TOtal. oe eccccsccesssccscessesssessssssessessestossssbusististiisiasiiaitisiiisisiantisisssanssesse $ 0.00
Copy total here 0... > —>$ 0.00
4. Adjust your current monthly income. Subtract the total on line 3 from line 1. ¢ 192.00

 

 

 

Official Form 122A-2 Chapter 7 Means Test Calculation page 1

 
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Debtor 4 Darlene Lynette Walls Case number @inwass,
First Name Maidie Name Last Name

: - Gaicuiate Your Deductions fram Vour income

 

 

The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
this form. This information may also be available at the bankruptcy clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3
and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A-1.

If your expenses differ from month to month, enter the average expense.

Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A-—1 is filled in.

5. The number of people used in determining your deductions from income

Fill in the number of people who could be claimed as exemptions on your federal income tax return,
plus the number of any additional dependents whom you support. This number may be different from
the number of people in your household. 1

National Standards You must use the {RS National Standards to answer the questions in lines 6-7.

6. Food, clothing, and other items: Using the number of peopte you entered in line 5 and the IRS National Standards, fill 647.00
in the dollar amount for food, clothing, and other items. gore

7. OQut-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories—people who are
under 65 and people who are 65 or older—because older people have a higher IRS allowance for health care costs. If your
actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.

People who are under 65 years of age

7a. Out-of-pocket health care allowance per person

 

 

$ 52.00
7b. Number of people who are under 65 4
Xo
7c. Subtotal. Multiply line 7a by line 7b. $ 52.00 copyhere>  § 52.00
People who are 65 years of age or older
7d. Out-of-pocket health care allowance per person
7e, Number of people who are 65 or older x 0
7f. Subtotal. Multiply tine 7d by line 7e. $ Copy here™> +§
7g. Total. Add lines 76 and 76... sccssecssccscsstscsecessscaseeanescrseacsentesnesutseneveneasnmsenesen $ 0,00 Copy total here> § 0.00

 

 

 

Official Form 122A-2 Chapter 7 Means Test Calculation page 2

 
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Debtor 1 Darlene Lynette Walls Case number @ known),
First Name Maddie Name Last Name

 

Local Standards You must use the IRS Locai Standards to answer the questions in lines 8-715.

Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
bankruptcy purposes into two parts:

@ Housing and utilities - Insurance and operating expenses
@ Housing and utilities — Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

To find the chart, go online using the link specified in the separate instructions for this form.
This chart may also be available at the bankruptcy clerk's office.

8. Housing and utilities ~ Insurance and operating expenses: Using the number of people you entered in line 5, fill in the
dollar amount listed for your county for insurance and operating ExPENSeS. .............cccccssccssesescsecsseecacsesesostessessssesseseaeenseence $ 476.00

9. Housing and utilities - Mortgage or rent expenses:

9a. Using the number of people you entered in fine 5, fill in the dollar amount listed 0.00
for your county for mortgage or rent ExPENSeS. ..... eee cette cece ee tenceeceesenteneneeene $Y

9b. Total average monthly payment for all mortgages and other debts secured by your home.

To calculate the total average monthly payment, add all amounts that are
contractually due to each secured creditor in the 60 months after you file for
bankruptcy. Then divide by 60.

 

 

 

 

 

 

Name of the creditor Average monthly
payment
N/A (Own home) $ 0.00
$
+ ¢
C Repeat this
Total average monthly payment $ 0.00 hed —$ 0.00 amount on
ere line 33a.
9c. Net mortgage or rent expense.
Subtract line 9b (total average monthly payment) from line 9a (mortgage or $ 0.00 SY ¢ 0.00
rent expense). If this amount is less than $0, enter $0... ee here>
10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects $ G.00
the calculation of your monthly expenses, fill in any additional amount you claim.
Explain
why:

 

11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

CJ 0. Go to fine 14.

1. Go to line 12.
(2 2 or more. Go to line 12.

12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
operating expenses, fill in the Operating Costs that apply far your Census region or metropolitan statistical area. $ 492.00

Official Form 122A-2 Chapter 7 Means Test Calculation page 3

 
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Debtor 1 Darlene Lynette Walls Case number @knoun}
First Name Middle Name Last Name

13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense
for each vehicle below. You may not claim the expense if you do not make any ioan or lease payments on the vehicle.

In addition, you may not claim the expense for more than two vehicles.

Vehicle 4 Describe Vehicle 1:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

13a, Ownership or leasing costs using IRS Local Standard. ...........0...0.c0ccescecceeeseessceseseeens ¢___0.00.
13b. Average monthly payment for ail debts secured by Vehicle 1.
Do not include costs for leased vehicles.
To calculate the average monthly payment here and on tine 13e, add all
amounts that are contractually due to each secured creditor in the 60 months
after you filed for bankruptcy. Then divide by 60.
Name of each creditor for Vehicle 1 Average monthly
payment
$ 0.00
+ § 0.00
Copy
Total average monthly payment $ 0.00 hero 8 0.00
13c. Net Vehicle 1 ownership or lease expense
Subtract line 13b from line 13a. if this amount is less than $0, enter $0. $ 0.00
Vehicle 2 Describe Vehicle2: N/A
13d. Ownership or leasing costs using IRS Local Standard. ............. eens $ 0.00
43e. Average monthly payment for all debts secured by Vehicle 2.
Do not include costs for leased vehicles.
Name of each creditor for Vehicle 2 Average monthly
payment
$
+ $
Copy
Total average monthly payment $ 0 heres? $ 0
13f. Net Vehicle 2 ownership or lease expense
Subtract line 13e from 13d. If this amount is less than $0, enter $0... $ 0.00

 

14. Public transportation expense: If you claimed 0 vehicles in fine 11, using the IRS Local Standards, fill in the
Public Transportation expense allowance regardless of whether you use public transportation.

Repeat this
amount on
line 33b.

Copy net
Vehicle 1

hee. > $0.00

Repeat this
amount on
line 33c.

Copy net
Vehicle 2
expense

here... > $_____0.00

$ 0.00

15. Additional public transportation expense: If you claimed 1 or more vehicles in fine 11 and if you claim that you may also

deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim

more than the IRS Local Standard for Public Transportation.

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§ 0.00

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Debtor t Darlene Lynette Walls Casé number g@inawn
Fini Name Middle Neme Last Neme

 

Other Necessary Expenses In addition to the expense deductions listed above, you are allowed your monthly expenses for
the following IRS categories.

16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
employment taxes, Social Security taxes, and Medicare taxes. You may include the monthly amount withheld from your $ 0.00
pay for these taxes. However, if you expect fo receive a tax refund, you must divide the expected refund by 12 and ee
subtract that number from the total monthly amount that is withheld to pay for taxes.

De not include real estate, sales, or use taxes.

17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
union dues, and uniform costs.

Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

$ 0.00

18. Life insurance: The total monthly premiums that you pay for your own term life insurance. ff two married people are filing
together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other than term. $27.35

—$<$< rn

19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
agency, such as spousal or child support payments.

0.00
Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35. $v

20. Education: The total monthly amount that you pay for education that is either required:
& as a condition for your job, or
& for your physically or mentally challenged dependent child if no public education is available for similar services. $ 0.00

 

21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool. 0.00
Do not include payments for any elementary or secondary school education. $__

22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
health savings account. Include only the amount that is more than the total entered in line 7.
Payments for health insurance or health savings accounts should be listed only in line 25. $__55.00

23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it + § 0.00
is not reimbursed by your employer.

Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

24. Add all of the expenses allowed under the IRS expense allowances. ¢ 1,454 3C
Add lines 6 through 23.

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Debtor 4 Darlene Lynette Walls

 

Fast Name Hiaddie Name Last Name

Case number @ known)

Additional Expense Deductions | These are additional deductions allowed by the Means Test.
Note: Do not include any expense allowances listed in lines 6-24.

25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your

dependents.
Health insurance
Disability insurance

Health savings account

Total

Do you actually spend this total amount?

(2 No. How much do you actually spend?

tA Yes

$ 0,00
$ 0.00

+ ¢ 0.00
$ 0.00
$

Copy total here oo ceececeeeececeeeee

26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
your household or member of your immediate family who is unable to pay for such expenses. These expenses may

include contributions fo an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety
of you and your family under the Family Violence Prevention and Services Act or other federal taws that apply.

By law, the court must keep the nature of thesé expenses confidential.

28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.

If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
8, then fill in the excess amount of home energy costs.

You must give your case trustee documentation of your actual expenses, and you must show that the additional amount

claimed is reasonable and necessary.

29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $160.42*
per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public

elementary or secondary school.

You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
reasonable and necessary and not already accounted for in lines 6-23,

* Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.

30. Additionai food and cioihing expense. The monthiy amount by which your aciuai food and clothing expenses are
higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than
5% of the food and clothing allowances in the IRS National Standards.

To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
this form. This chart may also be available at the bankruptcy clerk's office.

You must show that the additional amount claimed is reasonable and necessary.

31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).

32. Add all of the additional expense deductions.
Add lines 25 through 31.

Official Form 122A-2

Chapter 7 Means Test Calculation

 

 

 

 

$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
3 5.00
$ 5.00
page 6

 
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Debtor 4 Darlene Lynette Walls Case number @icoun,
First Neme Maddie Narne Lest Name

Deductions for Debt Payment

33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
loans, and other secured debt, fill in lines 33a through 33e.

To calculate the total average monthly payment, add all amounts that are contractually due to each secured
creditor in the 60 months after you file for bankruptcy. Then divide by 60.

 

 

 

 

 

 

Average monthly
Mortgages on your home: Payment
33a. Copy line 9b here => g_——C*9.00
Loans on your first two vehicles:
33b. Copy fine 13b here. SS g_—«9.00
33c. Copy line 13¢ here. > § Q
33d. List other secured debts:
Name of each creditor for other identify property that Does payment
secured debt secures the debi include taxes
or insurance?
N/A (J No $
Q) Yes
L] No $
C) Yes
CL] No +§
(C) Yes
. 0.00 Copy total
33e. Total average monthly payment. Add lines 33a through 33d... cece $ : here=> $ 0.00

34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
or other property necessary for your support or the support of your dependents?

wi No. Go to line 35.

CI Yes. State any amount that you must pay to a creditor, in addition to the payments
listed in line 33, fo keep possession of your property (called the cure amoung).
Next, divide by 60 and fill in the information below.

 

 

 

Name of the creditor Identify property that Total cure Monthly cure
secures the debt amount amount
$ +60= $
$ +60= $
$ +60 = +s
Total $ 0.00 oe $ 0.00

35. Do you owe any priority claims such as a priority tax, child support, or alimony —
that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

W No. Goto line 36.

CI Yes. Fill in the total amount of all of these priority claims. Do not include current or
ongoing priority claims, such as those you listed in fine 19.

Total amount of all past-due priority claims oo... ccc ececceescceeeeececsueceeseeteecteeeee $ 0.00 3 60 = $ 0.00

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Debtor 4 Darlene Lynette Walls Case number grinow
First Name Midiiie Name Last Name

 

36. Are you eligible to file a case under Chapter 137 11 U.S.C. § 109(e).
For more information, go aniline using the link for Bankruptcy Basics specified in the separate
instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.

(@ No. Goto line 37.
CI Yes. Fill in the following information.

Projected monthly plan payment if you were filing under Chapter 13 $

Current multiplier for your district as stated on the list issued by the

Administrative Office of the United States Courts (for districts in Alabama and

North Carolina) or by the Executive Office for United States Trustees (for all

other districts). xX

To find a list of district multipliers that includes your district, go online using the
link specified in the separate instructions for this form. This list may also be
available at the bankruptcy clerk’s office.

 

Cc ‘otal
Average monthly administrative expense if you were filing under Chapter 13 $ 0.00 ny $ 0.00
37. Add all of the deductions for debt payment. ¢ 0.00
Add lines 33¢ through 36. .........cccccsesceceseseeseeee sevseecseveenescsaracaucncsceneesaccecnereruesescesssesuacsnacsavsvatenedessssrevavacsureensavasesseeceepeatenss

 

 

 

 

Total Deductions from Income

38. Add all of the allowed deductions.

 

Copy line 24, All of the expenses allowed under IRS $ 1,454.35
expense allowances... aaa
Copy line 32, Ail of the additional expense deductione.......... $ 5.00
Copy fine 37, All of the deductions for debt payment... +3 0.00
Total deductions  $ 1,459.35 Copy total Here so ccccccceseesceesneee > $ _ 1,459.35

iwlsesn. | Determine Whether There fs a Presumption of Abuse

 

39. Calculate monthly disposable income for 60 months

 

 

39a. Copy line 4, adjusted current monthly income...... $ 192.00
39b. Copy line 38, Total deductions.......... = $ 1,459.35
39c. Monthly disposable incorne. 11 U.S.C. § 707(b)(2). § -1,262.35 Copy $ 1,262.35
Subtract line 39b from tine 39a. ae here> —————
For the next 60 months (5 years) x 60
39d. Total. Multiply line 396 by 60. .....000:nsinisnnnnnnnnniuninniiininiunnnisinienineee $775,741.00 FOPy «-75,741)00

 

 

 

40. Find out whether there is a presumption of abuse. Check the box that applies:

(f The line 39d is less than $7,700*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go
to Part 5.

(] The line 39d ig more than $12,859". On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
may fill out Part 4 if you claim special circumstances. Then go to Part 5.

CI The fine 39d is at least $7,700", but not more than $12,850". Go to fine 41.
* Subject to adjustment on 4/01/19, and every 3 years after that for cases filed on or after the date of adjustment.

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Debtor 4 Darlene Lynette Walls Case number @knoxn
First Name Middle Name Last Name

 

 

41. 41a. Fillin the amount of your total nonpriority unsecured debt. If you filled out A
Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
(Official Form 106Sum), you may refer to line 3b on that FOTN... ces eecsssnteeeseenssnnesessen ¢ 35,014.34

x .25

 

41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)@().

8,753.59 COPY 3 8,753.69
Multiply line 41a by 0.26. .... rrr —

here

 

 

 

 

42. Determine whether the income you have left over after subtracting all allowed deductions
is enough to pay 25% of your unsecured, nonpriority debt.

Check the box that applies:

Wi Line 39d is fess than line 4i1b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
Go to Part 5.

CJ Line 39d is equal to or more than line 44b, On the top of page 1 of this form, check box 2, There is a presumption
of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.

fe Give Details About Special Circumstances

43.Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there ts no
reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

kA No. Goto Part 5.

(2 Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
for each item. You may include expenses you listed in line 25.

You must give a detailed explanation of the special circumstances that make the expenses or income
adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
expenses or income adjustments.

: : : Average monthly expense
Give a detailed explanation of the special circumstances or Income adjustment

 

$

 

 

 

 

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

* Aut AA Ltlbh

Signature of Debtor 4 Signature of Debtor 2
Date 0 : Ol 20/4 Date
MM/DD} /YYY| MM/DD /YYYY

Official Form 122A-2 Chapter 7 Means Test Calculation page 9

 

 

 

 
